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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR 9004-1(b)

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   In Re:                                                     Case No.:                19-31515
                                                                                   _________________

   Richard Paliotta, Jr.                                      Judge:                      13
                                                                                  _________________

                                                              Chapter:                  Meisel
                                                                                  _________________



                            APPLICATION FOR EXTENSION OR
                     EARLY TERMINATION OF LOSS MITIGATION PERIOD

                         Attorney for Debtor
 The undersigned is the _________________________________________ in this matter. On
 ____________________, a Loss Mitigation Order was entered concerning:

 Property:           907 Hammond Road, Ridgewood, NJ 07450
                    ___________________________________________________________

 Creditor:          Specialized Loan Services
                    ___________________________________________________________


                                           2/14/2020
 The Loss Mitigation Period will expire on ____________________.

                                         Debtor
 For the reason(s) set forth below, the _______________________ hereby requests:

                                                              05/05/2020
              An extension of the Loss Mitigation Period to ______________________________ .

              Early termination of the Loss Mitigation Period, effective _____________________ .

 Set forth the applicant’s reason(s) for the above request:


Debtor's counsel is still working with Debtor to gather all necessary documents for the loss
mitigation application.
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 The parties to this matter, listed on the Certification of Service filed with this Application,
consent to immediate entry of the order granting this Application. A Certification Concerning
Order to Be Submitted has been filed with the Court.

 The parties to this matter, listed on the Certification of Service filed with this Application, do
not consent to immediate entry of the order granting this application. (If the non-consenting party
fails to file an objection to this Application within 7 days of the filed date of the Application,
which objection must be served on all Loss Mitigation parties, the Court may grant the relief
requested.)

 Consent has not been requested.




Dated: ___________________
       03/05/2020                                        /s/ Javier L. Merino
                                                        _________________________________
                                                        Applicant’s signature




                                                                                             rev.12/17/19



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